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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA




    SECURITIES AND EXCHANGE
    COMMISSION,
                                            No. 21-CV-21079
                      Plaintiff,

                v.

    MINTBROKER INTERNATIONAL, LTD.,
    f/k/a SWISS AMERICA SECURITIES LTD.
    And d/b/a SURETRADER, and GUY
    GENTILE, a/k/a GUY GENTILE NIGRO


                      Defendants.


    DEFENDANT GUY GENTILE’S OPPOSITION TO PLAINTIFF SECURITIES AND
            EXCHANGE COMMISSION’S MOTION FOR REMEDIES
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         Defendant Guy Gentile (“Gentile”) submits this memorandum of law and accompanying

  Declaration of Matthew A. Ford (the “Ford Decl.”), with exhibits, and Declaration of Guy

  Gentile (the “Gentile Decl.”), with exhibits, in opposition to Plaintiff Securities and Exchange

  Commission’s (“SEC”) Motion for Remedies Against Defendants (the “Motion,” ECF No. 359).1

                                  PRELIMINARY STATEMENT

         The SEC failed in its lawsuit in the District of New Jersey against Gentile. After the third

  dismissal of that time-barred suit, the SEC decided to head south, shopping for a better forum.

  The SEC found it. And now, following a trial on a purported “registration” violation by

  registered foreign broker-dealer, MintBroker International, Ltd. (“SureTrader”), the SEC has

  fabricated “disgorgement” and “penalty” amounts so they are equal to those it sought in the

  original dismissed District of New Jersey cases based on alleged conduct from 2007–2008. The

  relief sought against Gentile is punitive––intended to punish him for alleged conduct from 17

  years ago. But Congress has not authorized the SEC to seek or the Court to order such punitive

  relief. As explained below, the Court should deny the SEC’s requested punishment and limit the

  SEC’s relief to a tier one penalty against Gentile: $11,524.

         To begin with, the SEC’s request for almost $20 million in disgorgement, penalties, and

  interest exceeds the SEC’s equitable powers. It is legally deficient. As explained below, it is

  also factually deficient. The SEC fails to even meet the threshold of showing that any losses

  were attributable the supposed violation here, let alone the $29.69 million in losses that the SEC

  claims investors incurred “trading with SureTrader.” Motion at 5. There is no connection

  between SureTrader’s lack of SEC registration and investors’ decisions to pay commission and



  1
   All references to “Ex.” are references to exhibits to the Ford Decl. or the Gentile Decl. Gentile
  has also included a proposed judgment that only imposes a penalty of $11,524 for reasons
  explained in this memorandum of law.
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  enter into certain trades using self-directed accounts. And in fact, SureTrader charged

  significantly lower commissions than US registered broker-dealers.

         Further, the exorbitant award requested by the SEC is based on purported commissions

  received by SureTrader and estimated SEC registration fees.2 Yet, the SEC has failed to satisfy

  its initial burden of showing that Gentile received these “ill-gotten gains,” a threshold for both

  disgorgement and penalties under 15 U.S.C. § 78u(d).

         In Liu v. Sec. & Exch. Comm'n, the United States Supreme Court was clear that, as an

  equitable remedy, disgorgement is “restricted … to an individual wrongdoer's net profits.” 591

  U.S. 71, 79 (2020). And since it is limited to an individual’s net profits, disgorgement should be

  awarded against individuals, “not against multiple wrongdoers under a joint-and-several liability

  theory.” 591 U.S. 71, 84 (2020). Imposing disgorgement only on an individual basis is not only

  fair but also brings disgorgement practice in line with “[t]he rule against joint-and-several

  liability for profits that have accrued to another” that courts imposing equitable relief have

  followed throughout American history. Id. (citing Supreme Court cases as early as 1795).

         The Motion is in effect a request by the SEC for the Court to disregard its congressional

  mandate by punishing Gentile for purported benefits—that purportedly accrued to SureTrader—

  under the guise of “disgorgement.” The SEC’s proposed award includes over $13 million,

  reflecting the percentage of SureTrader’s commission purportedly derived from U.S. residents

  and customers. But the SEC has no evidence that Gentile ever received any of this commission

  revenue. It even concedes that “[b]y 2018, SureTrader had nearly 75 employees.” Motion at 4.



  2
    After the DOJ and SEC ceased using SureTrader as a “honeypot” to ensnare securities violators
  (see Ford Decl. Ex. 1 at 70-71, 73-76)), it forced SureTrader into liquidation in the Bahamas. As
  a result, SureTrader’s counsel was blocked from presenting a defense at trial and a default was
  entered against SureTrader (although hearsay evidence was admitted as if SureTrader was a
  party to the trial).

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         The SEC also seeks over $1 million from Gentile in a purported consulting fee despite

  having no bank records, wire transfers, or other evidence that he ever received it. Thirteen years

  after the SEC first deposed Gentile, during which time he acted as a cooperator for the DOJ and

  SEC freely sharing SureTrader’s and his financial records, the SEC cannot even satisfy its

  threshold burden. Instead, the SEC offers speculation that an irrevocable trust for which Gentile

  was a trustee but not a beneficiary received certain funds from SureTrader.

         No less critically, the SEC disregards the Supreme Court’s holding that disgorgement is

  limited to “net profits from wrongdoing after deducting legitimate expenses,” Liu, 591 U.S. at

  84, by failing to deduct any of SureTrader’s expenses despite recognizing that SureTrader had

  nearly 75 employees by 2018. Motion at 4. Indeed, deduction of SureTrader’s $30 million in

  legitimate expenses between March 2016 and December 2019—including payroll, taxes paid to

  the IRS, and registration fees for the Securities Commission of the Bahamas––should absorb the

  entire sought “disgorgement.” See Gentile Decl. Ex. A.

         The SEC’s request for another $1.9 million in civil money penalties also exceeds

  Congress’s authorization of a penalty no more than either a fixed amount or “the gross amount of

  pecuniary gain to such defendant as a result of the violation.” See 15 U.S.C. § 78u(d)(3)(B)(i)-

  (iii) (emphasis added). Because Congress restricted penalties to “the pecuniary gain” to Gentile,

  penalties must be assessed individually, not jointly and severally. See, e.g., S.E.C. v. Pentagon

  Cap. Mgmt. PLC, 725 F.3d 279, 288 (2d Cir. 2013). Yet the SEC seeks to penalize Gentile for

  the amount that SureTrader purportedly failed to pay by not registering with the SEC (although

  SureTrader paid all registration and related fees in the Bahamas as well as United States IRS

  related fees and taxes). This is a joint and several penalty in disguise and should be rejected.




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          The SEC’s request for an “obey the law” injunction is also legally deficient because it

   lacks specificity and is not equitable. Injunctions based on securities violations must be solely

   equitable. Because the injunction here serves to punish Gentile for alleged prior violations, label

   him a wrongdoer, remove his rights to defend against a subsequent lawsuit, and deter him and

   others from similar conduct it is punishment (not equitable relief). It serves neither to restore the

   status quo ante nor compensate a victim. The Court lacks authority to issue this sort of punitive

   restraint under the pretense of being an equitable injunction. SEC v. Gentile, 939 F.3d 549, 565

   (3d Cir. 2019); Saad v. SEC, 873 F.3d 297, 304-06 (D.C. Cir. 2017) (Kavanaugh, J., concurring).

                                      STATEMENT OF FACTS

          I.      Gentile Founded SureTrader

          In 2008, Gentile founded and incorporated SureTrader, which took its first customer in

   November 2011. (See Ford Decl. Ex. 1 at 26.) SureTrader was a Bahamas-based broker dealer

   registered with the Securities Commission of the Bahamas but not the United States Securities

   and Exchange Commission. (Id.)3 It was a day trading firm, which permitted self-directed

   trading only (that is, it had no managed accounts). At its peak, SureTrader had an 8,000 square-

   foot office space and nearly 75 employees. (See Motion at 4). SureTrader charged significantly

   lower commissions than US registered broker-dealers, including, Schwab, Fidelity, and TD

   Ameritrade. (See, e.g., Ford Decl. Ex. 2 at 21-22.)

          From 2012 through 2015, Gentile acted as a cooperator and informant for the Federal

   Bureau of Investigation, Department of Justice (the “DOJ”), and the SEC. (See Ford Decl. Ex. 1

   at 70-71, 73-76). During that time, the government instructed him on how SureTrader would




   3
    SureTrader’s website was explicit that it was not registered with the SEC. See, e.g., Ford Decl.
   Ex. 1 at 87-88.

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   operate. (Id.). Gentile resigned from SureTrader in late 2015 when he was negotiating an

   agreement to conclude his cooperation with the government and did not return to the firm until

   2017. (Id. at 71-72). Except for the first nine months, Gentile was not involved in SureTrader’s

   day-to-day operations, and his involvement further diminished following his return in 2017.

   (Ford Decl. Ex. 2 at 124-26; see also Ex. 1 at 81-83). SureTrader ceased operations in

   November 2019. See Motion at 15.

          II.     Regulators Bring Enforcement Actions Against Gentile and SureTrader

          SureTrader and Gentile were the subject of a litany of unsuccessful enforcement actions

   leading up to this case, including:

           •    On June 25, 2012, the DOJ charged Gentile by way of a sealed complaint. United
                States v. Gentile, 235 F. Supp. 3d 649, 650 (D.N.J. 2017). He was subsequently
                indicted on March 23, 2016, but the court dismissed the indictment. Id. at 653, 656.

           •    On November 12, 2013, the Financial Industry Regulatory Authority (“FINRA”)
                provided notice of a potential action for an alleged failure to register as a broker-
                dealer based on the same facts in this case; after Gentle provided the FINRA (and
                the SEC) with a Wells Submission, FINRA declined to pursue an enforcement action
                against Gentile. (Ford Decl. Exs. 3, 4, 5).

           •    On March 23, 2016, the SEC commenced an enforcement action in the U.S. District
                Court for the District of New Jersey. (Complaint, March 23, 2016, ECF No. 1, SEC
                v. Gentile, 2:16-cv-1619 (D.N.J.)). After the Court dismissed the SEC’s complaint
                multiple times, the SEC “inform[ed] the Court that it will not file a further amended
                complaint in this matter.” (Letter, October 19, 2020, ECF No. 113, SEC v. Gentile,
                2:16-cv-1619 (D.N.J.))

          The SEC then repackaged its New Jersey complaint and commenced this action on

   March 22, 2021. (Complaint, ECF No. 1). The SEC later filed many requests for extensions of

   pretrial deadlines and of trial itself, some of which Gentile actively opposed hoping to thwart the

   SEC’s regulatory extortion designed to devastate Gentile through costly and protracted litigation.

   (See, e.g., Motions filed under ECF Nos. 169, 179, 191, 198, and 202.) The Court granted these




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   requests, ultimately extending the case from March 22, 2021 to June 12, 2024. (See, e.g., Orders

   filed under ECF Nos. 171, 182, 192, 199 and 203).

             Trial was held between June 12 and July 1, 2024. (Trial Transcript at ECF Nos. 345-354.)

   On July 2, 2024, the jury entered a verdict (the “Verdict”) in favor of the SEC on liability.

   (Verdict Form, ECF No. 313). But the jury did not make any findings as to remedies.

                                               ARGUMENT

             As explained in more detail below, each of the SEC’s requests is meritless and should be

   denied. The SEC is not entitled to disgorgement. And were the Court to award any penalties,

   the penalties may not exceed $11,524. Further, no “obey the law” injunction is appropriate.

       I.       The SEC Bears the Burden on its Motion

             The Motion avoids the fundamental issue of which party bears the burden of proof here.

   Although the jury made its finding as to liability, the Verdict made no findings as to damages,

   and issues of fact remain unresolved. Since the SEC is moving for relief as to damages separate

   from the trial, it is in effect bifurcating its case into two pieces: one for liability and one for

   damages. That does not lessen the standard. The Court should clarify that the Rule 56 standard

   applies here and that the SEC retains the same burden, which the SEC cannot satisfy here.4

       II.      The Request for “Disgorgement” Should Be Rejected as an Improper Penalty

             “In civil actions, the SEC can seek civil penalties and equitable relief.” Liu v. SEC, 591

   U.S. 71, 75 (2020) (internal quotation marks omitted). On one hand, “penalties, which go

   beyond compensation, are intended to punish, and label defendants wrongdoers.” Gabelli v. SEC,

   568 U.S. 442, 451–52 (2013). On the other hand, equitable relief involves “strip[ping]



   4
     SureTrader’s default does not lessen the SEC’s burden even against SureTrader, let alone
   Gentile. Even on default judgment the plaintiff bears the burden of establishing damages. See,
   e.g., Robbie's of Key W. v. M/V Komedy III, 470 F. Supp. 3d 1264, 1271-72 (S.D. Fla. 2020).

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   wrongdoers of their ill-gotten gains,” but “to avoid transforming an equitable remedy into a

   punitive sanction, courts restrict[] the remedy to an individual wrongdoer’s net profits to be

   awarded for victims.” Liu, 591 U.S. at 79.5

          One of the differences between a penalty and equitable relief in the securities context is

   in the relationship between the wrong and the remedy. Penalties are tied to gains from a

   violation – specifically the greater of a statutory penalty or “the gross amount of pecuniary gain

   to such defendant as a result of the violation.” See 15 U.S.C. §§ 77t(d)(2), 78u(d)(3)(B)(i)-(iii).

   That is, Congress has authorized the SEC to seek and the Court to award penalties by reference

   to the financial gain to the wrongdoer, but penalties do not need to be tied to investor losses or

   even paid to victims.6

          Equitable relief sought by the SEC, however, must comport with traditional notions of

   equity, which require a more precise connection between the securities violation and the relief

   sought. See SEC v. Govil, 86 F.4th 89, 103 (2d Cir. 2023). In addition to the separate power to

   seek injunctive relief, Congress authorized the SEC to seek “equitable relief,” including

   disgorgement, but only if such relief solely equitable. See 15 U.S.C. § 78u(3), (5), and (7);

   Kokesh v. SEC, 581 U.S. 455, 467 (2017) (“A civil sanction that cannot fairly be said solely to

   serve a remedial purpose, but rather can only be explained as also serving either retributive or




   5
     See also id. at 77 (“[E]quity never lends its aid to enforce a forfeiture or penalty.”) (internal
   quotation marks omitted).
   6
     Instead, penalties may be sent to: (1) the U.S. Treasury, 15 U.S.C. § 77t(d)(3); (2)
   whistleblowers, 15 U.S.C. § 78u-6(b); or (3) to a “fair fund” under 15 U.S.C. § 7246(a), which
   provides that when “ the Commission obtains a civil penalty … the amount of such civil penalty
   shall … be added to and become part of a disgorgement fund” or other fund for victims.

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   deterrent purposes, is punishment, as we have come to understand the term.”) (emphasis

   original).7

           Thus, Congress has restricted the SEC’s ability to seek and the Court’s power to award

   disgorgement unless it is “solely” equitable. The Court may not award disgorgement that “goes

   beyond” compensation, such as for the purpose of paying whistleblowers (including their

   attorneys), granting a windfall to an investor by awarding her disgorgement in an amount

   exceeding the amount she lost as a result of the violation, depositing money in the U.S. Treasury,

   or depositing money in its “fair fund.” Liu, 591 U.S. at 80; Govil, 86 F.4th at 103; SEC v.

   Ahmed, 72 F.4th at 395. The SEC must identify the amount an investor lost as a result of the

   violation before a Court may disgorge money to that investor.8

           In Liu, the Supreme Court delineated the boundaries between equitable relief and “a

   penalty outside … equitable powers,” correcting nearly 50 years of erroneous jurisprudence. Liu,

   591 U.S. at 82. When used to deprive a wrongdoer of net profits from unlawful activity,

   equitable relief––whether called restitution, accounting, or disgorgement––is bounded by the

   “equitable principle that the wrongdoer should not be punished by paying more than a fair

   compensation to the person wronged.” Id. at 80 (internal quotation marks and alterations



   7
     Congress subsequently authorized the SEC to seek disgorgement under Sections
   78u(d)(3)(a)(ii) and 78u(d)(7), but rather than expanding the SEC’s remedial power, these
   provisions’ express authorization of disgorgement is “a ‘belt and suspenders’ clarification that
   equitable disgorgement is available” within the bounds of “traditional equitable limitations as
   recognized in Liu.” SEC v. Ahmed, 72 F.4th 379, 396 (2d Cir. 2023) (emphasis added).
   8
     See, e.g., U.S. Sec. & Exch. Comm'n v. Janus Spectrum LLC, 811 F. App'x 432, 434 (9th Cir.
   2020) (remanding disgorgement award for failure to find that award was for the benefit of
   investors and otherwise equitable); Sec. & Exch. Comm'n v. Bevil, No. 2:19-CV-0590-RFB-DJA,
   2020 WL 7048263, at *2 (D. Nev. Nov. 30, 2020) (rejecting SEC’s request for disgorgement
   when SEC “does not identify whether the disgorgement award would be for ‘the benefit of
   investors’”) (quoting Liu, 591 U.S. at 90). If the SEC cannot identify the amount an investor
   lost, it may only seek a penalty, which may go into the SEC’s fair fund for distribution as the
   SEC sees fit without equitable constraints. 15 U.S.C. § 7246(a).

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   omitted). That is, equity requires: (1) any disgorgement amount may not exceed the pecuniary

   gain obtained by the wrongdoer; (2) any disgorgement amount awarded to a victim may not

   exceed the pecuniary harm suffered by that victim; and (3) both the pecuniary gain obtained by

   the wrongdoer and the pecuniary loss suffered by the victim must have resulted from the

   securities law violation. See Liu, 591 U.S. at 80; Govil, 86 F.4th at 103; Sec. & Exch. Comm'n v.

   Ripple Labs, Inc., No. 20 CIV. 10832 (AT), 2024 WL 3730403, at *5 (S.D.N.Y. Aug. 7, 2024).

          A. The SEC’s Requested Disgorgement is an Improper Penalty Because the SEC
             Cannot Show Any Investor Losses Attributable to the Violation

          To be equitable, an award of disgorgement must have resulted from the violation, since

   “[a]n investor who suffered no pecuniary harm as a result of the fraud is not a victim.” Govil, 86

   F.4th at 98; see also Liu, 591 U.S. at 80; Ripple Labs, Inc., 2024 WL 3730403, at *5-6 (no harm,

   and thus no disgorgement, when defendant sold securities at undisclosed selective discounts).

          The SEC violates this limitation by seeking disgorgement despite not showing that any

   investor losses resulted from the violation, let alone enough to warrant the exorbitant award here.

   The SEC asserts that “U.S. customers lost $29.69 million trading with SureTrader,” Motion at 5,

   but fails to make any showing that these losses were the result of SureTrader’s lack of

   registration with the SEC. This is not a case where a broker-dealer defrauded investors by

   making misrepresentations and material omissions to induce them to enter into trades that they

   otherwise would not have entered into. All SureTrader accounts were self-directed and

   SureTrader charged significantly lower commissions than US registered broker-dealers,

   including, Schwab, Fidelity, and TD Ameritrade. See, e.g., Ford Decl. Ex. 2 at 21-22.9



   9
     Notably, the SEC does not and cannot claim that SureTrader misled any investors as to whether
   it was registered with the SEC, as it plainly advertised itself as not registered with the SEC. See,
   e.g., Ford Decl. Ex. 1 at 87-88. And SureTrader was registered with the Securities Commission
   of the Bahamas. (See id. at 36-37). The only “harm” resulting from the violation here would be

                                                    9
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          B. The SEC’s Requested Disgorgement is an Improper Penalty Because it Exceeds
             Gentile’s Pecuniary Gain

          The Supreme Court is clear that since the congressional authorization of disgorgement is

   bounded by equitable limits, “Congress prohibited the SEC from seeking an equitable remedy in

   excess of a defendant's net profits from wrongdoing.” Liu, 591 U.S. at 85.

          The SEC violates these limits by seeking “disgorgement” of almost $15 million from

   Gentile despite presenting no evidence that Gentile ever received this amount. The SEC’s

   proposed disgorgement amount also includes a purported $1,083,750 consultancy fee (the

   “Purported Fee”) that the SEC has no evidence of Gentile ever receiving. Despite investigating

   Gentile for over a decade,10 and commencing this action nearly four years ago, the SEC has no

   evidence of a wire transfer or other documentation showing that he ever received the Purported

   Fee. Instead, the SEC offers a declaration by its own accountant speculating that an irrevocable

   trust (the Swiss America Asset Trust, or the “Trust”) for Gentile’s children may have had access

   to the Purported Fee.11 Even if this speculation were accurate, it at most shows that Gentile’s

   children, not Gentile, obtained the Purported Fee.



   to defeat a potential idiosyncratic preference by investors that they conduct business with a
   broker-dealer that does not claim to be SEC-registered but registered with the SEC anyway. At a
   minimum, defeating this preference is not “pecuniary harm.”
   10
      The SEC began investigating Gentile in 2011. (See Ford Decl. ¶ 3).
   11
      Specifically, the SEC relies on a series of increasingly attenuated inferences showing Gentile’s
   purported receipt of the funds: (a) according to the SEC’s account, SureTrader’s financial
   statements show that it paid $1,300,500 in a consulting fee to Swiss America Group (“SAG”)
   because of a decrease in the payable amount in SureTrader’s financial statements; (b) the Trust
   owns all shares in SAG; and (c) Gentile is involved in the Trust. Motion at 14-15; Motion Ex. D,
   Declaration of Tonya Tullis ¶ 7 (ECF No. 359-4); Motion Ex. E (stock certificate) (ECF No.
   359-5); Motion Ex. F (Irrevocable Discretionary Settlement, or “Trust Agreement”) (ECF No.
   359-6)). But the SEC has adduced no evidence that the Trust actually accessed the Purported
   Fee. At most, owning all of the shares in the company means the Trust could have accessed its
   funds, not that it actually did. The SEC also misses the critical fact that Gentile is a party to the
   Trust as settlor and that the Trust was irrevocably held for his children, not Gentile himself. (See
   ECF No. 359-6 (Trust Agreement) at 22)). Thus, even crediting the SEC’s speculation, there is

                                                    10
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          The SEC also seeks disgorgement of the percentage of SureTrader’s commissions

   derived from U.S. residents and customers: $13,129,809 (the “SureTrader Commission”).

   Motion at 12-13. Even were this amount subject to disgorgement from SureTrader, it cannot be

   “disgorged” from Gentile since the SEC presents no evidence that Gentile ever received it.

          The SEC does not contend otherwise. Instead, its purported basis for disgorging the

   SureTrader Commission is merely that SureTrader received this amount and Gentile was its

   control person. Id. at 14. The SEC thereby conflates control (which is irrelevant) with benefit.

   See Liu, 591 U.S. at 85, 90-91. Nothing about the jury’s finding that Gentile was a control person

   suggests that Gentile ever accessed any of SureTrader’s funds, let alone SureTrader Commission

   revenue specifically. Instead, the jury instructions and Verdict were clear that the jury’s finding

   that Gentile was SureTrader’s “control person” did not involve any finding that Gentile received

   SureTrader’s funds, but rather focused on Gentile’s supposed involvement in SureTrader’s

   policies and “business affairs.” (Jury instructions, ECF No. 314 at 8; Verdict).

          C. No Award for Joint and Several Liability Disgorgement is Permissible Here

          For years, courts at times stretched disgorgement beyond its equitable limits by imposing

   this remedy on a joint and several basis. See, e.g., SEC v. First Jersey Sec., Inc., 101 F.3d 1450,

   1475 (2d Cir. 1996). The problem was that previously, “[u]nlike the civil penalty, there [was] no

   statutory requirement that a disgorgement award be measured as to each individual defendant.”

   SEC v. Pentagon Cap. Mgmt. PLC, 725 F.3d 279, 288 (2d Cir. 2013). Specifically, the

   authorization for penalties “requires that such awards be based on the ‘gross amount of pecuniary

   gain to such defendant.’” Id. (quoting 15 U.S.C. § 77t(d)(2) (emphasis added)). By contrast, 15




   at most evidence that Gentile’s children have an eventual legal right to receive the Purported Fee.
   Neither the Trust nor Gentile’s children were named here as relief defendants.

                                                   11
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   U.S.C. § 78u previously lacked comparable language, so courts imposed joint and several

   disgorgement under 15 U.S.C. § 78t(a), which allows control persons to be “liable jointly and

   severally with … such controlled person.” First Jersey Sec., Inc., 101 F.3d at 1475. But liability

   is distinct from remedies; with § 78t(a), Congress authorized a control person to be held liable

   through the actions of the controlled entity, but did not enable joint and several disgorgement as

   a remedy.

          The Supreme Court and Congress intervened to bring disgorgement in line with equity. In

   Liu, the Supreme Court interpreted 15 U.S.C. § 78u(d)(5)’s authorization of “equitable relief” as

   enabling disgorgement as a remedy, but explained that equity courts exercised equitable “profits-

   based remedies against individuals or partners engaged in concerted wrongdoing, [but] not

   against multiple wrongdoers under a joint-and-several liability theory.” 591 U.S. at 82-83.12 “The

   rule against joint-and-several liability for profits that have accrued to another appears throughout

   equity cases awarding profits.” Id. at 83 (collecting cases as early as 1795).13




   12
      Justice Thomas further explained that the majority’s reference to “partners” here is a reference
   to a legal partnership, not just anyone engaged in concerted wrongdoing. Liu, 591 U.S. at 101
   (Thomas, J., dissenting). As Justice Thomas explained, the Supreme Court “has rejected joint
   and several liability in actions for an accounting,” which is another profit-based equitable
   remedy that the Supreme Court explicitly analogized to disgorgement. Id. Here, Gentile and
   SureTrader were not in any kind of legal partnership. SureTrader was a corporation.
   13
      The Supreme Court admonished courts for “imposing joint-and-several disgorgement liability”
   since “[t]he SEC’s disgorgement remedy in such incarnations is in considerable tension with
   equity practices” and “could transform any equitable profits-focused remedy into a penalty.” Id.
   at 85, 90. The Supreme Court disavowed a trio of cases that condoned disgorgement when a
   defendant was forced to disgorge profits “that he channeled to friends, family, or clients,” S.E.C.
   v. Contorinis, 743 F.3d 296, 302 (2d Cir. 2014), when a tipper was forced to disgorge his
   tippee’s profits, S.E.C. v. Clark, 915 F.2d 439, 454 (9th Cir. 1990), and when a close relationship
   between the defendants and collaboration in executing the wrongdoing was found sufficient to
   impose joint and several disgorgement, S.E.C. v. Whittemore, 659 F.3d 1, 10 (D.C. Cir. 2011).
   Liu, 591 U.S. at 90 (finding this trio “at odds with the common-law rule requiring individual
   liability for wrongful profits”). Each of these disavowed cases features a closer connection
   among those held jointly and severally liable than that between Gentile and SureTrader.

                                                    12
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          Congress then codified Liu’s central holding¾that disgorgement must be equitable¾a

   year later by amending the statute, specifying the permissibility of disgorgement “of any unjust

   enrichment by the person who received such unjust enrichment as a result of such violation.” 15

   U.S.C. § 78u(d)(3)(a)(ii) (emphasis added); SEC v. Ahmed, 72 F.4th 379, 392 (2d Cir. 2023)

   (“[t]he express addition of ‘disgorgement’ as a remedy specified under 78u(d)(7) is … a ‘belt

   and suspenders’ clarification that equitable disgorgement is available”). The terminology here

   parallels that of the penalty statute by permitting remedies on an individual-by-individual basis.

   Compare 15 U.S.C. § 78u(d)(3)(A)(ii) (permitting disgorgement “by the person who received

   such unjust enrichment”) with 15 U.S.C. § 78u(d)(3)(B)(iii) (permitting penalties measured by

   gain “to such defendant”). This 2021 amendment thus abrogates prior cases, including those

   relied on by the SEC, which apply disgorgement on a joint and several basis.

          Here, the SEC disregards the clear mandate from the Supreme Court and Congress by

   seeking to disgorge the SureTrader Commission from Gentile despite the SEC’s failure to

   adduce any evidence that Gentile ever received any of this money. This request fails as a matter

   of law in light of Liu and of the 2021 amendments to § 78u limiting disgorgement to “the

   person” who received it. Id. The SEC’s attempt to blur the boundaries between a corporation

   and an individual¾even one found to be its “control person” for purposes of the Exchange

   Act¾also improperly disregards the corporate form, particularly because at no point does the

   SEC claim, and neither the jury nor the Court have found, that Gentile received any of

   SureTrader’s money.

          The SEC’s argument to the contrary is based on a combination of abrogated cases and a

   misreading of 15 U.S.C. § 78t(a)’s reference to joint and several liability. Motion at 11. The

   SEC appears to view this language as authorizing joint and several remedies between a



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   controlled and a controlling person, which proves too much since it would also authorize joint

   and several penalties, which the SEC does not seek here and are impermissible. S.E.C. v.

   Pentagon Cap. Mgmt. PLC, 725 F.3d 279, 287 (2d Cir. 2013) (reversing “decision to impose

   joint and several liability for the amount of the civil penalty as an error of law”).14

          D. The SEC Fails to Deduct Expenses from the Request for Disgorgement

          When disgorging profits, “courts consistently restricted awards to net profits from

   wrongdoing after deducting legitimate expenses.” Liu, 591 U.S. at 84. Thus, disgorgement is

   limited to “net profits from wrongdoing, that is, the gain made upon any business or investment,

   when both the receipts and payments are taken into the account.” Id. at 83 (collecting cases;

   emphasis added; internal quotation marks and citations omitted).

          The SEC violates the Supreme Court’s directive in Liu by failing to deduct business

   expenses. The Motion neglects to mention that SureTrader incurred over $30 million in

   expenses during the SEC-designated “Relevant Period” (March 2016 to November 2019). (See

   Gentile Decl. Ex. A). This included fees for registering with the Securities Commission of the

   Bahamas and for compliance with government fee, tax and penalty requirements. SureTrader’s

   expenses also included salary paid to the “nearly 75 employees” that the SEC concedes

   SureTrader had, Motion at 4, in addition to rental fees for SureTrader’s 8,000 square-foot office

   space, software fees, trading fees, and other legitimate business expenses. Id. Thus, any




   14
      At most, the SEC has shown that there is a potential conflict between 15 U.S.C. § 78t (last
   amended in 2010) and 15 U.S.C. § 78u(d)(3)(A)(ii) (last amended in 2021). The more recent and
   specific provision, § 78u(d)(3)(A)(ii), must control and forbids joint and several disgorgement.
   See Tug Allie-B, Inc. v. United States, 273 F.3d 936, 948 (11th Cir. 2001) (“if two statutes
   conflict, the more recent or more specific statute controls”). Imposing joint and several penalties
   would also be inconsistent with 15 U.S.C. § 78u(d)(3)(B)’s distinction between penalties for
   “natural” versus “other” persons, which would be pointless if a natural person would be held
   jointly and severally liable with a company for which they were a “control person.”

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   potential award of disgorgement against SureTrader or Gentile should be subject to a deduction

   of approximately $30 million in business expenses. Id. And Gentile personally paid

   approximately $5.7 million in taxes in 2017-18, which is not only a legitimate expense but also

   demonstrates his personal commitment to complying with the law and repatriating money to the

   U.S. (Gentile Decl. ¶ 7; Ex.’s B, C, E, and F).

             The only way the SEC can avoid deducting these legitimate expenditures from what, if

   any, disgorgement it obtains is if it can show that “the entire profit of a business or undertaking

   results from the wrongful activity.” Liu, 591 U.S. at 84 (citation and internal quotations marks

   omitted). The SEC cannot meet this burden. The violation is a failure to register with the SEC,

   which is irrelevant to the maintenance of office space, paying taxes, compensating employees,

   and other legitimate expenditures. Further, as the SEC concedes, a significant portion of

   SureTrader’s business during the relevant period did not even involve servicing accounts for

   U.S. clients. See Motion at 12-13 (detailing percentage of SureTrader commission attributable to

   U.S. as from 42% to 79% from 2016-Q2 to 2019-Q3). Regardless, SureTrader was registered in

   the Bahamas and registered with the IRS, and the SEC knew all of this in 2011.

      III.      The SEC’s Request for a Penalty is An Impermissible Request for a Joint and
                Several Penalty in Disguise

             Congress has authorized the SEC to seek three tiers of penalties for securities law

   violations. 15 U.S.C. §§ 77t(d)(2), 78u(d)(3). But the penalty for any tier is either a specified

   statutory amount (up to $5,000 for a natural person under tier one, subject to adjustment for

   inflation) or “the gross amount of pecuniary gain to such defendant as a result of the violation.”

   15 U.S.C. §§ 77t(d)(2), 78u(d)(3) (emphasis added). Here, the SEC seeks a tier one penalty of

   $11,524 against Gentile. Motion at 20. And while Gentile disputes and intends to appeal the

   Verdict, he does not dispute that the SEC may obtain a statutory tier one penalty of $11,524.



                                                     15
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          The SEC, nonetheless, seeks an additional $1,875,854 penalty against Gentile for the cost

   that SureTrader purportedly avoided by not registered with the SEC. Motion at 18-20. But of

   course, since the jury found only that SureTrader, not Gentile, had to register, SureTrader would

   have paid the cost of registration. The SEC thus chose the wrong target for the penalty, which (if

   anything) should be directed to SureTrader, not Gentile.15

          Here, where SureTrader and Gentile are not only separate persons but also separate

   parties to the litigation, imposing this penalty on Gentile for SureTrader’s purported failure to

   register would be in effect to impose a kind of joint and several liability in disguise.16 The

   congressional mandate is clear that penalties are permissible only on a defendant-by-defendant

   basis¾joint and several liability is unavailable. 15 U.S.C. §§ 77t(d)(2) (permitting penalties

   equal to “pecuniary gain to such defendant”) (emphasis added), 78u(d)(3) (same); S.E.C. v.

   Pentagon Cap. Mgmt. PLC, 725 F.3d 279, 287 (2d Cir. 2013) (reversing “decision to impose

   joint and several liability for the amount of the civil penalty as an error of law”).17




   15
      That alone distinguishes this case from Sec. & Exch. Comm'n v. Keener, on which the SEC
   relies to justify its demand for collective punishment. 102 F.4th 1328, 1331 (11th Cir. 2024).
   There, the SEC brought an action against an individual (Justin Keener) who was doing business
   as a sole proprietorship, “JMJ Financial.” Id. Unlike here, where Gentile and SureTrader are
   separate parties, there was just one defendant in Keener, “Justin W. Keener, d/b/a JMJ
   Financial.” See id. The Court found that Keener was liable for buying and selling newly issued
   shares of penny stocks while failing to register as a dealer and ordered him to pay the amount he
   saved by not registering as a penalty. Sec. & Exch. Comm'n v. Keener, 644 F. Supp. 3d 1290,
   1307-08 (S.D. Fla. 2022). Since he was just an individual, there is no dispute that he would have
   personally paid the registration fee had he registered himself (as “JMJ Financial”). See id.
   16
      The SEC’s proposed penalty on Gentile relative to SureTrader not being SEC-registered is
   even harsher than imposing joint and several liability on SureTrader and Gentile; that would at
   least permit Gentile to offset payment by amounts SureTrader would contribute or absorb.
   17
      The SEC also insinuates that Gentile received a “benefit” from SureTrader’s closure because
   SureTrader reportedly held certain assets in June 2019 but not in December 2019. Motion at 18.
   This is absurd. Those assets were investor positions that SureTrader liquidated and the money
   was returned to those investors. (Gentile Decl. ¶ 2)

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        IV.      The Injunctive Relief Sought Is Punitive, Not Equitable

              A. The “Obey the Law” Injunction Sought Here Is Punitive

              Courts may issue injunctive relief, but the order must “state its terms specifically” and

   “describe in reasonable detail¾and not by referring to the complaint or other document¾the act

   or acts restrained or required.” Fed. R. Civ. P. 65(d).18 The Eleventh Circuit has consistently

   held that “in the context of SEC enforcement actions and otherwise, ‘obey-the-law’ injunctions

   are unenforceable.” Sec. & Exch. Comm’n v. Graham, 823 F.3d 1357, 1362 n. 2 (11th Cir. 2016)

   (collecting cases). These injunctions “lack specificity and deprive defendants of the procedural

   protections that would ordinarily accompany a future charge of a violation of the securities

   laws,” violating Rule 65(d). Id. (internal quotation marks omitted); Burton v. City of Belle Glade,

   178 F.3d 1175, 1201 (11th Cir. 1999) (injunction to “obey the law” would be unenforceable and

   “not satisfy the specificity requirements of Rule 65(d)”); Sec. & Exch. Comm’n v. Smyth, 420

   F.3d 1225, 1233 n.14 (11th Cir. 2005).19 They are punishment for past wrongdoing not intended

   to restore the status quo ante. Kokesh v. SEC, 581 U.S. 455, 464 (2017); Govil, 86 F.4th at 103.



   18
      These requirements are critical because “the collateral consequences of an injunction can be
   very grave.” SEC v. Commonwealth Chem. Sec., Inc., 574 F.2d 90, 99 (2d Cir. 1978) (internal
   quotation marks omitted). See also Aaron v. Sec. & Exch. Comm'n, 446 U.S. 680, 703 (1980)
   (“An injunction is a drastic remedy, not a mild prophylactic.”) (Burger, J., concurring).
   Although 15 U.S.C. § 78u(d) and 15 U.S.C. § 77t(d) authorize the SEC to seek injunctive relief
   against securities law violations, in practice its requests for injunctive relief often “simply
   reference or restate the text of statutory prohibitions,” which “are called ‘obey-the-law’
   injunctions.” S.E.C. v. Gentile, 939 F.3d 549, 554 (3d Cir. 2019). Such injunctions amplify the
   consequences for securities violations by permitting the SEC to litigate potential violations “by
   contempt rather than by the statutory route.” Id. at 564 (3d Cir. 2019) (internal quotation mark
   omitted). See also Saad, 873 F.3d at 305 (Kavanaugh, J., concurring).
   19
      See also Gentile, 939 F.3d at 564 (“obey-the-law injunctions pose a risk of overbreadth, lack
   of fair notice, unmanageability, and noncompliance with Federal Rule of Civil Procedure
   65(d)”); SEC v. Savoy Indus., Inc., 665 F.2d 1310, 1318–19 (D.C. Cir. 1981) (striking down
   broad “obey-the-law” language in an injunction in an SEC action that “could embrace nearly any
   sort of violation of the securities laws” and “subject to the federal civil contempt power future
   acts . . . that may be completely unrelated to . . . lawbreaking in the past”); SEC v. Tourre, 4 F.

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          Here, the SEC’s proposed injunction against Gentile provides little detail other than

   enjoining him from violating 15 U.S.C. § 78o(a)(1).20 He is already not allowed to do that. This

   is an “obey-the-law” injunction in violation of Rule 65(d) and it serves as punishment, not

   restoring the status quo ante. Compare Kokesh, 581 U.S. at 464 (“Sanctions imposed for the

   purpose of deterring infractions of public laws are inherently punitive”) with United States v.

   Telluride Co., 146 F.3d 1241, 1248 (10th Cir. 1998) (injunction restoring wetlands not a penalty;

   it “relates to actual harm caused by the defendants’ prior actions”).

          B. The SEC’s Punitive Injunction is Not Appropriate Here

          To the extent punitive injunctions are ever appropriate (including the “obey the law”

   injunction sought here), they are only appropriate when the SEC clears a high bar: it must

   “establish a sufficient evidentiary predicate to show that [a] future violation may occur.” Aaron

   v. Sec. & Exch. Comm'n, 446 U.S. 680, 701 (1980). Accordingly, “[t]o say that past misconduct

   gives rise to an inference of future misconduct is not enough” to warrant an injunction.

   Steadman v. S.E.C., 603 F.2d 1126, 1140 (5th Cir. 1979), aff'd, 450 U.S. 91, 101 S. Ct. 999, 67

   L. Ed. 2d 69 (1981). “The burden rests with the SEC to establish the likelihood of future

   violations.” S.E.C. v. Wellshire Sec., Inc., 773 F. Supp. 569, 576 (S.D.N.Y. 1991).21

          The permanent “obey the law” injunction the SEC seeks is punitive, not equitable.

   SureTrader has not been in operation since 2019 and cannot be used as a vehicle for securities



   Supp. 3d 579, 598 (S.D.N.Y. 2014) (“[T]he Court is skeptical of the utility of this kind of ‘obey-
   the-law’ injunction—after all, everyone is required to obey the law, the law comes with its own
   penalties, and merely reciting statutory provisions gives an individual little guidance on how to
   conform his conduct to the terms of the injunction.”) (internal quotation marks omitted).
   20
      A question arises as to whether Gentile could even have violated § 78o, since he is a natural
   person who was associated with a registered broker-dealer. See 15 U.S.C. § 78o.
   21
      In determining the propriety of an injunction, courts consider certain factors enumerated in
   S.E.C. v. Calvo, 378 F.3d 1211, 1216 (11th Cir. 2004), as well as potential hardship. Sec. &
   Exch. Comm'n v. Warren, 583 F.2d 115, 122 (3d Cir. 1978).

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   law violations. Thus, the injunction sought is not forward-looking: it serves only to punish for an

   alleged violation that the SEC and FINRA knew about and approved as early as 2011: thirteen

   years ago. Tellingly, the four and a half pages of the SEC’s brief devoted to supporting

   injunctive relief is focused almost exclusively on Gentile’s past conduct. Motion at 5–9. The

   SEC must “go beyond the mere facts of past violations and demonstrate a realistic likelihood of

   recurrence.” Sec. & Exch. Comm’n v. Commonwealth Chem. Sec., Inc., 574 F.2d 90, 100 (2d Cir.

   1978); SEC v. Jones, 476 F. Supp. 2d 374, 383 (S.D.N.Y. 2007) (same); Wellshire Sec., Inc., 773

   F. Supp. at 576 (rejecting the “SEC[’s] claims that the existence of past violations provides an

   inference that there will be future violations”). As the SEC neglects to acknowledge, a full five

   years have passed since the “relevant period in this case,” Motion at 14, and at no point has the

   SEC claimed that any defendant has committed any further registration violations. C.f. SEC v.

   Westport Cap. Markets, LLC, 547 F. Supp. 3d 157, 166-68 (D. Conn. 2021) (holding that several

   factors weigh against a permanent injunction, including because the SEC did not show violations

   since 2017). And Gentile has never been previously found to have violated the securities laws.

          The record is also replete with instances of good faith attempts to comply with the SEC’s

   registration requirements, as outlined in Gentile’s opposition to the SEC’s motion for summary

   judgment and confirmed at trial, including repeatedly disclosing the nature of SureTrader’s

   business to the SEC, DOJ, and FINRA over the course of 13 years and causing SureTrader to

   pay US taxes. (Opposition Memorandum, ECF No. 231 at 9–12). The SEC notes that the jury

   found Gentile “did not meet his burden” of showing good faith at trial, Motion at 17, but that is

   irrelevant here, where the SEC, not Gentile, has the burden of proof.

          The SEC also claims that Gentile should be penalized because the “violations created

   substantial losses to SureTrader’s customers” but its support is that SureTrader’s US clients




                                                   19
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   “paid $25.27 million in commissions but lost $29.69 million on the trade activity.” Motion at 17.

   As explained in Section II. A., there is no connection between SureTrader’s lack of SEC

   registration and investors’ decisions to pay commission and enter into certain trades.22

        V.      The Court Should Not Award Prejudgment Interest

             Prejudgment interest may be awarded as a form of equitable relief; that is, prejudgment

   interest may not be awarded based on a civil money penalty, and the SEC does not claim

   otherwise. Motion at 15; Indus. Risk Insurers v. M.A.N. Gutehoffnungshutte GmbH, 141 F.3d

   1434, 1446 (11th Cir. 1998) (“awards of prejudgment interest are equitable

   remedies”), overruled on other grounds, 66 F.4th 876 (11th Cir. 2023); Osterneck v. E.T.

   Barwick Indus., Inc., 825 F.2d 1521, 1536 (11th Cir. 1987) (an award of prejudgment interest

   “must be tempered by an assessment of the equities”) (internal quotation marks omitted), aff'd

   sub nom., 489 U.S. 169 (1989). Because the SEC has failed to demonstrate entitlement to

   disgorgement, it is only entitled to civil money penalties, not prejudgment interest.23



   22
      Finally, even if injunctive relief were appropriate, it should be for a limited time, no more than
   2 years, not a permanent bar. See, e.g., S.E.C. v. Patel, 61 F.3d 137, 142 (2d Cir. 1995)
   (reversing lifetime bar; holding “before imposing a permanent bar, the court should consider
   whether a conditional bar … and/or a bar limited in time … might be sufficient”); S.E.C. v.
   Gallison, 2023 WL 3004882, at *4 (S.D.N.Y. Feb. 4, 2023) (rejecting SEC request for
   permanent bar and instead imposing five-year bar given the defendant’s “lack of repeat-offender
   status” and collecting cases); Sec. & Exch. Comm’n v. Johnson, 368 F. Supp. 3d 247, 253 (D.
   Mass. 2019) (imposing two-year bar for first-time offender who misled investors about drug).
   23
      Separately, the SEC’s request for prejudgment interest should also be denied, or in the
   alternative substantially reduced, because of the SEC’s “undue delay in prosecuting the lawsuit.”
   Gen. Motors Corp. v. Devex Corp., 461 U.S. 648, 657 (1983). The SEC is seeking prejudgment
   interest since SureTrader ceased operations in November 2019, Motion at 15, but that would
   reward the SEC for almost two and a half years of delay before bringing this action in March
   2021 and filing five separate requests for extensions of deadlines, including for trial. See, e.g.,
   ECF Nos. 169, 179, 191, 198, and 202 (Motions), c.f. Pierce Mfg., Inc. v. E-One, Inc., No. 8:18-
   CV-617-TPB-TGW, 2022 WL 479804, at *2 (M.D. Fla. Feb. 16, 2022) (“Plaintiffs are not
   entitled to prejudgment interest for the period of the continuance they requested.”). Moreover,
   Gentile and his counsel made clear to the SEC, DOJ, and FBI that SureTrader began accepting
   US clients from its inception.

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                                          CONCLUSION

          For the foregoing reasons, the SEC’s Motion should be denied. The only appropriate relief

   is a penalty of $11,524, consistent with the accompanying proposed order.



   Date: January 6, 2025
         New York, New York
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 6, 2025, a true and correct copy of the foregoing
   document has been electronically served on all counsel of record via the Court’s CM/ECF
   system.

   Date: January 6, 2025
   New York, New York

                                                              Respectfully submitted,

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